
40 A.3d 34 (2012)
425 Md. 226
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner,
v.
Lawrence Michael HAMMOND, Respondent.
Misc. Docket AG No. 34, September Term, 2011.
Court of Appeals of Maryland.
March 16, 2012.

ORDER
Upon consideration of the Joint Petition for Disbarment By Consent filed herein pursuant to Maryland Rule 16-772, it is this 16th day of March, 2012, hereby
ORDERED, by the Court of Appeals of Maryland, that Lawrence Michael Hammond, be, and he hereby is, DISBARRED by consent from the practice of law in the State of Maryland, effective immediately, and it is further,
ORDERED, that the Clerk of this Court shall immediately strike the name of Lawrence Michael Hammond from the register of attorneys in this Court and, pursuant to Maryland Rule 16-772(d), shall certify to the Trustees of the Client Protection Fund of the Bar of Maryland and the clerks of all judicial tribunals in this State that the name of Lawrence Michael Hammond has so been stricken.
